Case 18-05656       Doc 45    Filed 12/29/21 Entered 12/29/21 17:04:52           Desc Main
                                Document     Page 1 of 6



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                       )      In Proceedings Under Chapter 13
                                             )      Honorable Deborah L. Thorne
Willie Ray Vaughn                    )
                                         )
                                             )      Case No. 18-05656
                      Debtors.               )

          NOTICE OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         TO: DEBTORS, DEBTOR’S COUNSEL, CHAPTER 13 TRUSTEE:

        Please take notice that on January 26, 2022, at 9:00 a.m. or as soon thereafter as the
same may be heard, the undersigned will present to the Honorable Deborah L. Thorne (or any
other judge who may be presiding in her place), the attached motion for relief from the automatic
stay.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

        To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.
        To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.
        Meeting ID and password. The meeting ID for this hearing is 160 9362 1728 with no
password required. The meeting ID can also be found on the judge’s page on the court’s web site
https://www.ilnb.uscourts.gov/content/judge-deborah-l-thorne.
        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

                                             Robertson, Anschutz, Schneid, Crane & Partners,
                                             PLLC

                                             s/ Samantha C. San Jose
                                             Samantha C. San Jose
                                             Attorney for Secured Creditor
                                             205 N. Michigan Avenue, Suite 810
                                             Chicago, IL 60601
                                              833-424-1715
                                             ssanjose@raslg.com
Case 18-05656        Doc 45      Filed 12/29/21 Entered 12/29/21 17:04:52         Desc Main
                                   Document     Page 2 of 6




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                        )      In Proceedings Under Chapter 13
                                              )      Honorable Deborah L. Thorne
Willie Ray Vaughn                     )
                                          )
                                              )      Case No. 18-05656
                       Debtors.               )

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW U.S. BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS

INDIVIDUAL CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR RCF 2

ACQUISITION TRUST C/O U.S. BANK TRUST NATIONAL ASSOCIATION ("Secured

Creditor"), by and through the undersigned counsel, hereby moves this Court, pursuant to 11

U.S.C. § 362(d), for a modification of the automatic stay provisions for cause, and, in support

thereof, states the following:

         1.    Debtor filed a voluntary petition pursuant to Chapter 13 of the United States

Bankruptcy Code on February 28, 2018.

         2.    Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

§ 1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and statutes

affecting the jurisdiction of the Bankruptcy Courts generally.

         3.    On December 20, 2007 Borrower, Willie Ray Vaughn, executed and delivered a

Promissory Note (“Note”) and a Mortgage (“Mortgage”) securing payment of the Note in the

principal amount of $148,483.50 to TCF National Bank. The Mortgage was recorded on

December 20, 2007 at Document 0800704026 of the Public Records of Cook County Illinois.
Case 18-05656        Doc 45     Filed 12/29/21 Entered 12/29/21 17:04:52             Desc Main
                                  Document     Page 3 of 6



The loan was transferred to Secured Creditor, and upon information and belief, Secured Creditor

is the holder of the Note. True and accurate copies of documents establishing a perfected security

interest and ability to enforce the terms of the Note are attached hereto as Composite Exhibit

“A.” The documents include copies of the Note with any required indorsements, Recorded

Mortgage, Assignment(s) of Mortgage, and any other applicable documentation.

        4.     The Mortgage provides Secured Creditor a lien on the real property located in

Cook County, Illinois, and legally described as stated in Composite Exhibit “A”. This property is

located at the street address of: 12422 S. Aberdeen St. Calumet Park, IL 60827.

        5.     The terms and conditions of the Note and Mortgage are in default due to a failure

to make payments from July 1, 2021 through and including December 1, 2021. The total arrears

amount of $5,646.40 broken down as follows:

    July 01, 2021 to December 01, 2021                    $4,750.68
    (6 mortgage payments at $791.78)
    Attorney’s Fees and Costs                         $1,038.00
    Less Suspense                                            ($142.28)
    Total Arrearage                                          $5,646.40

        6.     As such, Secured Creditor’s security interest in the subject property is being

significantly jeopardized by Debtors’ failure to comply with the terms of the subject loan

documents while Secured Creditor is prohibited from pursuing lawful remedies to protect such

interest.

        7.     Secured Creditor is due the amount of $73,493.44, good through December 7,

2021. Documentation supporting this claim is attached hereto as Exhibit “B”.

        8.     Secured Creditor respectfully requests the Court grant it relief from the Automatic

Stay in this cause pursuant to 11 U.S.C. §362(d)(1) of the Bankruptcy Code, for cause, namely

the lack of adequate protection to Secured Creditor for its interest in the above stated collateral in
Case 18-05656       Doc 45     Filed 12/29/21 Entered 12/29/21 17:04:52              Desc Main
                                 Document     Page 4 of 6



that post-petition regular payments are not being made.

       9.      If Secured Creditor is not permitted to enforce its security interest in the collateral

or be provided with adequate protection, it will suffer irreparable injury, loss, and damage.

       10.     Once the stay is terminated, the Debtors will have minimal motivation to insure,

preserve, or protect the collateral; therefore, Secured Creditor requests that the Court waive the

14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

       11.     Secured Creditor has incurred court costs and attorney’s fees in this proceeding

and will incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

and protecting the property, all of which additional sums are secured by the lien of the mortgage.

Secured Creditor seeks an award of its reasonable attorneys’ fees and costs of $1,038.00, or

alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any pending or

subsequent foreclosure proceeding.

       WHEREFORE, Secured Creditor prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.



                                              Respectfully submitted,
                                              U.S. Bank Trust National Association, Not in its
                                              Individual Capacity But Solely As Owner Trustee for
                                              RCF 2 Acquisitions Trust C/O U.S. Bank Trust National
                                              Association

Dated: December 29, 2021                      By: /s/ Samantha C. San Jose
                                              One of its Attorneys
Case 18-05656   Doc 45   Filed 12/29/21 Entered 12/29/21 17:04:52       Desc Main
                           Document     Page 5 of 6


                                    Samantha C. San Jose (#6319469)
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Case 18-05656       Doc 45    Filed 12/29/21 Entered 12/29/21 17:04:52           Desc Main
                                Document     Page 6 of 6



                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS

In re:                                            Case No: 18-05656
Willie Ray Vaughn                          Chapter: 13
                                        Hon. Deborah L. Thorne
Debtor.

                               CERTIFICATE OF SERVICE

       The undersigned states that I served the Motion for Relief from the Automatic Stay and
Co-Debtor Stay, Notice of said Motion, and proposed Order, all as attached, upon the Debtors by
postage prepaid, in the United States Mail, by first-class mail and upon the other parties named
below via electronic means, on December 29, 2021.

Willie Ray Vaughn
12422 S. Aberdeen St.
Calumet Park, IL

Mohammed O Badwan
Sulaiman Law Group, LTD
2500 S. Highland Ave
Suite 200
Lombard, IL 60148

Marilyn O Marshall
224 South Michigan Ste 800
Chicago, IL 60604

Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604




                              /s/ _Brenda Thurman______________
